17-40977-tjt   Doc 97   Filed 07/07/20   Entered 07/07/20 13:00:37   Page 1 of 5
17-40977-tjt   Doc 97   Filed 07/07/20   Entered 07/07/20 13:00:37   Page 2 of 5
                                                                                                                            PAGE 1 OF 2

                                                                                                          Annual Escrow Account
                                                                                                           Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                             ACCOUNT NUMBER
  1-800-327-7861
  https://myloanweb.com/BSI                                            004    1461446050_ESCROWDIS

                                                                                    DATE: 06/25/20

                                                 202
             ALAN IAGNEMMA                                                          PROPERTY ADDRESS
             35239 GARRET DR                                                        35239 GARRET DR
             CLINTON TOWNSHIP, MI 48035                                             CLINTON TOWNSHIP, MI 48035



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 08/01/2020
THROUGH 07/31/2021.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 08/01/2020 TO 07/31/2021 ---------
HOMEOWNERS INS                                                 $1,365.00
TOWN                                                           $3,045.29
TOTAL PAYMENTS FROM ESCROW                                     $4,410.29
MONTHLY PAYMENT TO ESCROW                                         $367.52
          ------ ANTICIPATED ESCROW ACTIVITY 08/01/2020 TO 07/31/2021 ---------
                    ANTICIPATED PAYMENTS                                                           ESCROW BALANCE COMPARISON
MONTH         TO ESCROW            FROM ESCROW                  DESCRIPTION                 ANTICIPATED                 REQUIRED

                                                        STARTING BALANCE -->               $2,933.92                   $3,346.88
AUG                $367.52                                                                 $3,301.44                   $3,714.40
SEP                $367.52               $1,365.00 HOMEOWNERS INS                          $2,303.96                   $2,716.92
                                         $1,981.88 TOWN                               L1->   $322.08              L2->   $735.04
OCT                $367.52                                                                   $689.60                   $1,102.56
NOV                $367.52                                                                 $1,057.12                   $1,470.08
DEC                $367.52                                                                 $1,424.64                   $1,837.60
JAN                $367.52                                                                 $1,792.16                   $2,205.12
FEB                $367.52               $1,063.41 TOWN                                    $1,096.27                   $1,509.23
MAR                $367.52                                                                 $1,463.79                   $1,876.75
APR                $367.52                                                                 $1,831.31                   $2,244.27
MAY                $367.52                                                                 $2,198.83                   $2,611.79
JUN                $367.52                                                                 $2,566.35                   $2,979.31
JUL                $367.52                                                                 $2,933.87                   $3,346.83
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS LESS THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SHORTAGE. YOUR ESCROW SHORTAGE IS $412.96.
                                             CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                         $677.52
ESCROW PAYMENT                                                                          $367.52
SHORTAGE PYMT                                                                            $34.41
NEW PAYMENT EFFECTIVE 08/01/2020                                                      $1,079.45
YOUR ESCROW CUSHION FOR THIS CYCLE IS $735.04.




                                        ********** Continued on reverse side ************

                                                                                        Escrow Payment Options
                                                                               I understand that my taxes and/or insurance has increased and that
                                                                               my escrow account is short $412.96. I have enclosed a check for:

                                                                                    Option 1: $412.96, the total shortage amount. I understand
Loan Number:                                                                        that if this is received by 08/01/2020 my monthly mortgage
Statement Date:              06/25/20                                               payment will be $1,045.04 starting 08/01/2020.
Escrow Shortage:              $412.96
                                                                                    Option 2: $_____________ , part of the shortage. I understand
                                                                                    that the rest of the shortage will be divided evenly and added
        Important: Please return this coupon with your check.                       to my mortgage payment each month.
                                                                                    Option 3: You do not need to do anything if you want to
                                                                                    have all of your shortage divided evenly among the next
            BSI FINANCIAL SERVICES                                                  12 months.
            314 S. Franklin Street, 2nd Floor                                 Please make you check payable to: BSI FINANCIAL SERVICES and
            P.O. Box 517                                                      please include your loan number on your check.
            Titusville, PA 16354

                17-40977-tjt      Doc 97          Filed 07/07/20        Entered 07/07/20 13:00:37              Page 3 of 5
                                                                                                                                                                                                 PAGE 2 OF 2

                                                                  ********** Continued from front **********


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 08/01/2019 AND ENDING 07/31/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 08/01/2019 IS:
   PRIN & INTEREST                                                                                                                        $677.52
   ESCROW PAYMENT                                                                                                                         $370.55
   SHORTAGE PYMT                                                                                                                          $101.77
   BORROWER PAYMENT                                                                                                                     $1,149.84
                        PAYMENTS TO ESCROW                                      PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                    ACTUAL                      DESCRIPTION                 PRIOR PROJECTED                     ACTUAL
                                                                                                                       STARTING BALANCE                                    $2,897.71                        $3,423.95-
   AUG                  $370.55                       $0.00 *                                              $1,981.88 * TOWN                                                $3,268.26                        $5,405.83-
   SEP                  $370.55                     $344.41 *                  $1,295.00                               HOMEOWNERS INS   T->                                  $741.10                        $5,061.42-
   SEP                                                                         $1,602.71                               TOWN
   OCT               $370.55                      $344.41          *                                       $1,365.00 * HOMEOWNERS INS                                      $1,111.65                        $6,082.01-
   NOV               $370.55                      $688.82          *                                                                                                       $1,482.20                        $5,393.19-
   DEC               $370.55                      $344.41          *                                       $1,063.41 * TOWN                                                $1,852.75              A->       $6,112.19-
   JAN               $370.55                      $688.82          *                                                                                                       $2,223.30                        $5,423.37-
   FEB               $370.55                        $0.00          *           $1,548.90                                          TOWN                                     $1,044.95                        $5,423.37-
   MAR               $370.55                      $688.82          *                                                                                                       $1,415.50                        $4,734.55-
   APR               $370.55                        $0.00          *                                                                                                       $1,786.05                        $4,734.55-
   MAY               $370.55                      $344.41          *                                                                                                       $2,156.60                        $4,390.14-
   JUN               $370.55                      $688.82          *                                                                                                       $2,527.15                        $3,701.32-
   JUL               $370.55
                  __________                        $0.00
                                               __________                    __________                  __________                                                        $2,897.70                        $3,701.32-
                    $4,446.60                    $4,132.92                     $4,446.61                   $4,410.29


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $741.10. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $6,112.19-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

   Determining your Shortage or Surplus
   Shortage:
    .
   Any shortage in your escrow account is usually caused by one the following items:
    . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
    . A projected increase in taxes for the upcoming year.
      The number of months elapsed from the time of these disbursements to the new payment effective date.
   Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
   shortage can be paid either partially or in full.
   Surplus:
    .
   A surplus in your escrow account is usually caused by one the following items:
    .  The insurance/taxes paid during the past year were lower than projected.
    .  A refund was received from the taxing authority or insurance carrier.
       Additional funds were applied to your escrow account.
   If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
   run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
   your escrow account.




Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS# 38078.
Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).

                            17-40977-tjt                  Doc 97              Filed 07/07/20                     Entered 07/07/20 13:00:37                                     Page 4 of 5
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

 In Re:                                          Case No. 17-40977-tjt

 Alan Iagnemma                                   Chapter 13

 Debtor.                                         Judge Thomas J. Tucker

                                     PROOF OF SERVICE

       The undersigned does hereby certify that a copy of the Notice of Mortgage Payment
Change has been duly electronically serviced, noticed or mailed via U.S. First Class Mail,
postage prepaid on July 7, 2020 to the following:

          Alan Iagnemma, Debtor
          35239 Garret
          Clinton Township, MI 48035

          William D. Johnson, Debtor’s Counsel
          filing@acclaimlegalservices.com

          Brian D. Rodriguez, Debtor’s Counsel
          filing@acclaimlegalservices.com

          Tammy L. Terry, Trustee
          mieb_ecfadmin@det13.net

          United States Trustee’s Office
          (registeredaddress)@usdoj.gov

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (OH 0083702)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
                                                 Attorney for Creditor




   17-40977-tjt      Doc 97    Filed 07/07/20    Entered 07/07/20 13:00:37     Page 5 of 5
